                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CASE NO. 3:21-CV-501-RJC-DCK

 FS MEDICAL SUPPLIES, LLC,                           )
                                                     )
                  Plaintiff,                         )
                                                     )
     v.                                              )      ORDER
                                                     )
 TANNERGAP, INC., and TANNER                         )
 PHARMA UK LIMITED,                                  )
                                                     )
                  Defendants.                        )
                                                     )

          THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Consent Motion To Extend

Time To Complete Jurisdictional Discovery” (Document No. 26) filed June 2, 2022. This motion

has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and

immediate review is appropriate. Having carefully considered the motion and the record, the

undersigned will grant the motion.

          Although the Court previously advised the parties that “[f]urther extensions of these

deadlines will not be allowed” (Document No. 23), the undersigned is persuaded to allow the

parties one final extension.

          IT IS, THEREFORE, ORDERED that Plaintiff’s “Consent Motion To Extend Time To

Complete Jurisdictional Discovery” (Document No. 26) is GRANTED. The parties shall have up

to and including July 29, 2022 to conduct jurisdictional discovery. This matter will continue to

be STAYED as to other briefing or motions practice unrelated to discovery.

          IT IS FURTHER ORDERED that Plaintiff shall have up to and including August 5, 2022

to file an Amended Complaint or notice of intent not to amend. Defendants shall then file an




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Answer, a renewed motion to dismiss, or otherwise respond to the Complaint or Amended

Complaint on or before August 19, 2022.

       SO ORDERED.


                                Signed: June 8, 2022




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